                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

IN THE MATTER OF:                                   Chapter 13
Amy L. Butler,                                      Case No.: 18-52232
                                                    Judge Marci McIvor

                          Debtor.
___________________________________/


NOTICE OF VOLUNTARY CONVERSION FROM CHAPTER 13 TO CHAPTER 7


PLEASE TAKE NOTICE that the Debtor, Amy L. Butler, hereby converts the above-
captioned Chapter 13 case to Chapter 7 pursuant to 11 U.S.C. § 1307(a) and Federal
Rule of Bankruptcy Procedure 1017(f)(3)




                                                    Respectfully Submitted,

                                                    /s/ William C. Babut
                                                    Babut Law Offices PLLC
                                                    700 Towner St.
                                                    Ypsilanti, MI 48198
                                                    734-485-7000
                                                    wbabut@babutlaw.com
                                                    P41099

April 8, 2019




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